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Speaker 1:     It is 75. You think there's enough light here? This guy's in his natural element.

Rebecca:       Exactly.

Speaker 1:     It's true. You're free now. Rebecca, I want to get you...

Rebecca:       Higher?

James:         Did you have these up last time or you just added those?

Speaker 2:     What's that?

James:         The hundred dollar bills?

Speaker 2:     Yeah.

James:         Was it like that?

Speaker 2:     It was a little hard [crosstalk 00:00:46].

James:         What? You get on the stage? You get on the stage.

Rebecca:       What if I'm on the swing.

Speaker 1:     I think it's going to be hard. You're going to have to [crosstalk 00:01:05].

Rebecca:       I won't be able to do it.

Speaker 1:     Anything else I can help with.

Rebecca:       We just need a little bit higher chair again.

Speaker 1:     There's this chair right here. These are a little low. Are these the same height or no?
               That one might be too..

Speaker 2:     Does she need to go higher than the swing?

Rebecca:       Do you have like an office chair that might...

Speaker 2:     Show me what height. I got tons of...

Rebecca:       Right at James' height so the...

Speaker 2:     I have some office chairs if you want to take a look at these.

Rebecca:       Yeah, maybe an office chair that we could...


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Speaker 2:     Here, tell me which one you...

Rebecca:       Pump up.

Speaker 1:     All right. So you're at 3200 then. The highest is already at 50.

Rebecca:       I' set. I'm ready to go.

Speaker 1:     Do you want your glasses, James?

James:         Oh, yeah.

Speaker 1:     I'll grab them. Here. You want to be cool in the shot?

Rebecca:       You guys both ready?

James:         Cover my fucking zits.

Speaker 1:     I'm not flipped way.

Rebecca:       You're not to wear [inaudible] right now.

James:         No.

Speaker 1:     I'll just save usually the last shot or something. Do you want to get in? We move this
               chair for you. I want you to... [crosstalk] We're probably going to email it or something.

James:         When do you all fly out? Tomorrow?

Rebecca:       No. We're here for a couple... well, we're not going back to New York. We're going to
               move on, on Thursday. We go to Arizona, Michigan. We'll see. There seems to be quite a
               bit unfolding in the investigation.

James:         When does Lowe have to be out? By next week, right? There's no way he has that many
               animal facilities built.

Speaker 3:     We're going to let Bea run off for the day so she can finish up here. She's going to finish
               stuff at home and get with us again tomorrow.

Speaker 1:     Are you here tomorrow?

Bea:           Yeah, [inaudible 00:04:30].

Speaker 1:     Okay, cool. Did you email those to me?

Bea:           I emailed the first four but there's three that I want to get your opinion on which one
               you want.

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Speaker 1:     Okay, cool. I'll just text you later. Thank you so much.

Bea:           No problem.

Speaker 1:     See you tomorrow. Do you want me to move her? She's the frame.

Rebecca:       I think she's great.

Speaker 1:     Okay, She likes to be here.

Rebecca:       You okay there now? Okay, good. So, James, what has transpired since we last saw you
               in Washington DC?

James:         What do you mean? Trying to think which way you want me to go with it.

Rebecca:       When we saw you in DC, you had just taken on a lawyer, an attorney who was going to
               work with you, and you were trying to figure out the legalities of coming public with
               some of the things that you wanted to say. Maybe you can walk me through...

James:         Oh, okay. I got you.

Rebecca:       Because even then, you were not able to talk about it.

James:         I still can't really say a lot because I mean opinions, yes. I don't really want to get into
               the bashing of Brian or them.

Rebecca:       Well, tell me what you're thinking in terms of what your next move.

James:         Okay. So, from the last...

Rebecca:       Why don't you take me, because you never told me that you took on a lawyer. Why
               don't you start there? Hold on one sec. We met your level, you never...

James:         Okay, whenever you're ready. Okay. The last time we were in Washington DC, I met with
               a lawyer, a federal lawyer to protect my interest and make sure I don't cause myself any
               problems by helping Joe or whatever... well, let me try to think how to say this. Oh, shit.

               I'm just going to fucking do it and be fucking done. I'm trying to think. See, I got to be
               real careful because I could implicate myself if I piss off, you know. I'm just trying to
               think how to say it without implicating myself.

               Okay, let me just... Okay. The last time we met in Washington, I retained a lawyer to
               look out for my best interest and to see what I could possibly do to maybe get Joe out
               sooner because since he's the only one that went to jail over this whole ordeal. I don't
               think it's right for him to have to spend his whole life in jail. I think it ought to be... he
               ought to get out because he's already been in there a few years.



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               None of the other parties that participated in all this murder for hire stuff went to jail. I
               just don't think it's right. I think it's right so I think it's time for me to come forward and
               maybe even try to lend a hand to get him out of jail.

Rebecca:       How did you come to this place? What happened with you personally?

James:         Obviously psychologically it screwed with me a lot because I wasn't the sole person that
               put him away, but I played a part in it. And a lot of things came to light after the trial
               was over about Glover's relationship with a certain person. I saw that somebody behind
               the scenes could have been involved in this murder for hire plot. I thought it was the
               right thing to do to come forward and basically see if I can help reverse some of the
               damage that was done.

Rebecca:       How much risk is there for you in all of this?

James:         Well, obviously the government gave me no immunity. I was granted no protection from
               the government. It's kind of scary because if I say the wrong thing, maybe I could be
               implicated in one of Joe's crimes or whatever. I just don't think it's fair for him to be the
               only one in there and everybody else get a free pass. I was uncomfortable with that
               from day one. It's not fair that the hit man walks. Other people that played a part in the
               murder for hire, walks. It's just not right.

Rebecca:       Tell me about... looking back on when you were heading into the trial, what were you
               going through personally?

James:         I was going through a lot of financial problems because I got so involved in this case or
               whatever. It caused me a lot of financial problems. I lost a home over it. My business
               went to shit. I lost a whole lot over it and it accomplished nothing. I thought I was doing
               the right thing for animals.

               Yeah, Joe did some horrible things to animals, but you know, he may have learned the
               lesson from all this being in jail as long as he's been in there. Everybody just pretty much
               deserves a second chance. The guy does not deserve to die in prison when other people
               played a part in it and are free as a bird. I just think it's wrong.

Rebecca:       What do you plan on doing about it?

James:         Well, I don't know what I can do really, honestly. I don't know what I can do. I can
               collaborate with other people maybe and start a campaign. I don't really know what I
               can do to help, and I'll probably make a lot of enemies on the way. That's just in the
               back of my mind.

               Pissing off the government. The government's a powerful entity. If they single you out,
               they don't stop at nothing. A lot of people should have went to jail over this, and in the
               end, one person's persecuted for everything. That's my take on the whole situation

Rebecca:       For you...


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Speaker 1:     Can you move over just a little bi?

James:         This way?

Rebecca:       That okay?

Speaker 1:     You can go back a little bit.

Rebecca:       Split the difference?

Speaker 1:     Yeah. Yeah.

Rebecca:       Your friend Mike was saying in the aftermath of... when he watched Tiger King, he was
               like, "That guy. Jet ski, slimy jet ski guy".

James:         Yeah. Yeah. I mean, the public sees me as just the snitch. They don't really care why I
               got involved. A lot of people don't know the facts. Yes, I snitched, but everybody
               involved snitched and the whole thing just basically stinks, the whole everything. It was
               just done improperly, I think.

Rebecca:       What different tactics or ways are you thinking about trying to come forward with this
               information about...

James:         Well, I don't know. I'm talking to a lot of people like Mike and a few others that are well-
               known people. Maybe they can generate enough interest to get Trump to possibly do a
               pardon. I don't think anybody's going to get anywhere with the legal system, because he
               really had no defense. There was nobody there sticking up for him. His lawyers didn't do
               him a very good job. I was at trial a couple of days. It seemed to me like they were
               horrible lawyers.

               Is Joe guilty of a lot of things? Yes. But everybody deserves a second chance in my
               opinion> He doesn't deserve to die in there when everybody else is living the normal
               life. Like Alan Glover, I don't understand how he's free whenever he was paid or
               supposedly paid to go kill a lady. How is he walking the streets today?

Rebecca:       Can you talk to me about the interaction you had with Joe's lawyers right before trial?

James:         I had really just more of an introductory. We didn't really discuss the case. We didn't
               really discuss...

Rebecca:       Can I have you start that again, like, "Right before the trial, I..."

James:         Yeah, you mean the introduction with Joe's lawyers?

Rebecca:       Yeah. Like, "Right before the trial, I spoke to Joe's lawyers..."




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James:         Oh, okay. Yeah, yeah, yeah. Yeah. When this thing was going to trial, I reached out to
               Joe's lawyers the day before. I didn't feel right. I didn't really want to testify. I didn't
               really want to play a part in it anymore because things were just not adding up. In the
               back of my mind, things weren't adding up.

               I reached out to his lawyers and they just fluffed me off. "Oh, well, it's going to trial
               tomorrow. There's nothing we can do." I reached out to the federal government and
               told several people that I don't want to go to court. They basically said, "Well, you have
               a subpoena, we can charge you if you don't go to court". So what are you supposed to
               do? If I didn't show up to court, they were going to charge me. If I did show up, look
               what happened, 22 years.

               Once I started seeing the same judge that oversaw the criminal case was the Carol
               Baskin judge in the civil case, I was like, "None of this seems right to me". That guy was
               already tainted. I'm not saying Joe's innocent by any means, but here was a lot of
               wrongdoings in the whole situation.

Rebecca:       Do you think Joe may have been innocent of any of the charges?

James:         The selling of the cubs, I don't know. I honestly... I'm not the judge or the jury, but he
               could have been innocent because everybody on some of the charges was... everybody
               was just turning against him. I mean, his ex-husband for how many years turned right
               against them to save his own ass. Everybody just started flipping.

               Jeff Lowe, flipped. He had Allen Glover, he was recording Allen Glover's conversations. It
               was like a three ring circus. Everybody flipped on Joe. He had no support whatsoever. If
               some people would have came to his defense, it would probably be a different
               outcome.

Rebecca:       Do you think at that point in time, and I know this is just your opinion, that Joe wanted
               Carole dead?

James:         There's no doubt that Joe wanted her dead. There's no doubt in my mind. Was a lot of it
               probably fabricated? I think. Do I think that Joe, if a real hit man approached him and he
               had the money, I think he would have followed through with it my opinion, because he
               did solicit an FBI agent. I don't know if he was joking or what, but it seemed serious to
               me.

               He had conversations and he asked a lot of other people besides the people that are
               involved, to kill this lady. So, I'm not saying he's innocent a hundred percent. No. But
               does he deserve what he got when others walked? I don't think so.

Rebecca:       And do you think he was really serious about that intention or was he being Joe in
               running his mouth and saying things that he shouldn't have said?

James:         I don't know. I wasn't there in the Allen Glover part. I didn't hear the conversations back
               and forth between Joe and Allen Glover. I never sat in the same room with all three of


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               those people and talked with the Allen Glover deal. So, I don't know. I don't know what
               went on behind closed doors with those people.

Rebecca:       And in terms of paying Allen, do you think Allen was paid and do you think that he was
               paid to go kill Carole or he was...

James:         I personally don't think he was paid, but that's just my personal opinion as James
               Garretson, my personal opinion. I don't think he was paid. He might've been paid labor
               or whatever because he did work for Joe. Maybe he was paid payroll, I don't know.
               Maybe it was a Jeff Lowe scheme. Who knows? I don't know.

Rebecca:       Did Allen ever tell you he was on his way to Florida?

James:         No. No.

Rebecca:       Can you just say, "Allen never told me".

James:         Allen Glover never told me he was on his way to Florida. The last conversation I had with
               Allen Glover is Allen Glover told me he was going to South Carolina to take care of his
               driver's license or some personal bullshit is I think when he told me. He never told me
               he was on his way to Florida, no.

Rebecca:       From everything that you've heard and know about this, do you think Allen ever went to
               Florida?

James:         I don't think so. I don't think anybody's seen any proof that Allen Glover was in Florida. I
               heard he went right to South Carolina. There's no hotel receipts. He said he stayed in a
               hotel, but I don't think you ever went to Florida.

Rebecca:       Did anyone ever investigate that?

James:         I don't think so. I don't know. I have no idea. I mean, you would think they could go get
               proof that he was in a Florida hotel. Hotel camera, or if he went to Florida to get a hotel
               room, there had to be a record. You have to show ID when you get a hotel, so I don't
               think so.

Rebecca:       E-ZPass.

James:         Yeah. I mean it was just..

Rebecca:       Cell phone pinging.

James:         It was like a shit show. It really was. We don't know what happened with Allen Glover,
               him and Jeff, the conversations they had that weren't recorded. There's a lot, a lot of
               unanswered questions.




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Rebecca:       Did Jeff ever indicate to you, say anything to you, that made you think that he wanted
               Joe out of the way? Were there ever any conversations like that?

James:         Towards the end, when Joe was leaving on his own, Jeff made comments like, "I'm ready
               for this", whatever. He'd always call him a queer or faggot or whatever. He always, "I
               can't wait for this fucking queer to get out of here".

               Then Jeff Lowe called me and had conversations the last day Joe was there when he was
               killing animals, asking if I could stop the... if there was anything I could do to stop Joe
               from euthanizing more animals. I guess he didn't want to leave Joe with anything. He
               wanted to haul them all out of there or euthanize the prized animals. Hang on a second.

Rebecca:       James, I'll just ask you a couple more questions and then you're... is Cash okay?

James:         Yeah. He's fine.

Rebecca:       You're sure?

James:         Yeah. Am I in the right spot?

Speaker 1:     A little bit to your... right there.

Rebecca:       Tell me about what's happening with Tim Stark.

James:         I don't really know. I'm heard he's on the run. I don't know. I haven't talked to him. I've
               called his phone a couple of times to see what was going on and he just goes to
               voicemail. I don't know. Who knows.

Rebecca:       And what happened with his place and his animals?

James:         I actually don't even know. Didn't they take them all or... Oh, so everything's gone.
               Where did they all go?

Rebecca:       Indianapolis Zoo.

James:         I know the cats went to Turpentine.

Rebecca:       Turpentine and Pat Craig.

James:         Oh, okay. I don't even know. I talked to him one time and that was the day before they
               were going to start getting animals because he told me he had to be a mile away, he
               couldn't even be there. I don't know. I mean, that's unfortunate...

Rebecca:       What do you think he's going through? He's on the run now, what do you think is going
               through his head?




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James:         I have no idea. I don't know any history with Stark. Like if he had had a record or if he's
               been in jail before, I don't really know any history on him, so who knows? It's crazy that
               PETA could come in there and push these judges to doing things and they're like the
               police or whatever. It's crazy. This whole industry is just crazy right now.

Rebecca:       What's happening with your good friend... do you need to look at that?

James:         No, I'm good.

Rebecca:       Jeff Lowe.

James:         He's not my friend. Who knows? Hopefully he's homeless soon, I don't know. I don't
               know what's going on with him.

Rebecca:       What's going on with his place? Where is he...

James:         I heard he's moving to that new place, but how is he going to support all those animals
               with no source of income and can't exhibit, can't do cub photos. That's a train wreck. It's
               not going to end well for all the animals.

               I've seen the video of the lions that were hauled out of there and they just looked awful.
               Awful. He's not talking so much on social media, not bragging about his new ventures or
               his weed farm. I don't know. He's probably having problems.

Rebecca:       I think so. I would guess. It seems like the walls are...

James:         I heard he only had a couple of cages there, so I don't know. Does anybody know?

Rebecca:       I think that's true.

James:         How are you going to put 50, 60 animals in two cages?

Rebecca:       I don't know him, but Eric's been talking to Roy who's the guy who was working with
               Tim and Jeff, the next door neighbor. And he keeps an eye on it.

James:         Are there any animals there at the new place?

Rebecca:       I don't think there are yet.

James:         You can't even physically move that many animals in a week.

Rebecca:       He has hundreds of cats I think.

James:         No, there's like 60 something now. It's down to like 60 something.

Rebecca:       Where they all go?



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James:         Well, he sent a lot to Tennessee. He got rid of a lot.

Rebecca:       He's just been unloading.

James:         Yeah. He doesn't have as many... I think Joe at one point had 160, but he never had 227
               that they claimed. I walked around there one day. I couldn't even count 200 cats. It's all
               ego. Joe was the same way. 227 tigers on 12 acres of land, or 16 acres of land. It's all
               bullshit. All of them have ego problems, every one of them.

Rebecca:       And by the way, that's not something to be proud of?

James:         What?

Rebecca:       Having 227 tigers.

James:         That means you bred a shit load of tigers to just get by. It's a horrible business model.
               Breed a tiger, use it for 16 weeks, feed it for another 20 years. It's absolutely stupid.

Rebecca:       And nobody can afford it.

James:         No, and take care of them properly and feed them the right meat, vitamins, vet care.
               Even if you made $30,000 in 16 weeks or $50,000, you have to feed it another 20
               something years. Some of them go into their early twenties, 22, 23 years old. It's
               ridiculous.

               But you can't blame all the people. You need to blame the USDA for letting it go on.
               They could have put an end to all this stuff. When they lowered the... in the old days
               you could use a tiger to whenever the trainer felt comfortable. Well, when they put a
               cap on 16 weeks, everybody doubled up the breeding, so thank our government for that
               problem.

Rebecca:       How easy is it to breed a tiger?

James:         Oh, easy. They breed like rabbits. You put two tigers together, they have cubs.

Rebecca:       Even if they're brother and sister?

James:         It doesn't matter.

Rebecca:       Do you miss having animals?

James:         I still have animals. I'm moving some of my animals to Florida next week. Yeah, we still
               have a license and everything.

Rebecca:       I didn't know that. Down to the Keys?




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James:         No, I'm moving them not too far from here actually. I still have three tigers and camels
               and water buffaloes and shit.

Rebecca:       You do?

James:         Yeah.

Rebecca:       And they're moving here next week?

James:         Yeah, I'm going to get them next week. I've just kept it on the sly, but yeah, all my
               animals are in Texas right now at a friend of mine's place.

Rebecca:       Are you going to move up here?

James:         I might get a place sooner later and do something private, not open to the public. None
               of that drama, something small just for the animals I have. I'm not acquiring, not
               breeding and not doing any of that stuff. I don't want Carole... unless Carole Baskin's in
               jail, then I might change my mind.

Rebecca:       What's going on with Carole to the best...

James:         Well, she made it through three weeks of Dancing With The Stars and hasn't broke a hip
               yet, so she's I guess doing all right.

Rebecca:       Tell me about her first routine.

James:         It was fucking awful. I have no rhythm, none, and I could do them better than that bitch.

Rebecca:       And what did she dance to?

James:         My fucking song. My jet ski song. Yeah. It pissed me off. It's like stabbing me with a
               fucking knife. She ruined that song, Survivor ought to sue her.

Rebecca:       James, I felt for you.

James:         That pissed me off. It really did. If I could have throat punched her, I would have. But
               how did she make it another two more weeks? How? Are they just doing it for ratings?
               So, all those judges mean nothing.

Rebecca:       Their ratings have gone up 39% and they based it all on her.

James:         Can I get on the judges panel or something for one fucking week.

Rebecca:       But she's made it two weeks.

James:         Get out of here, you fucking whore. Two weeks.



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Rebecca:       Two weeks.

James:         But still, she should have never got past that first dance.

Rebecca:       Did you see the spot that the family put out?

James:         Yeah, I watched it.

Rebecca:       What'd you make of that?

James:         I don't know. I think everybody's in it for publicity, so I don't know. My thoughts on the
               whole family stuff of Don Lewis and stuff, they lost their father, but why weren't they
               staying on her ass for these last 23 years? Now, all of a sudden Tiger King comes out and
               everybody jumps on the bandwagon. I don't know.

               I think a lot of people are in this thing for the wrong reasons and a lot of people don't
               have skin in the game and I think it's kind of bullshit. I lived it so I could speak on his
               behalf because I was there.

               I have to put up with all the Joe followers that think he's Jesus and I have to put up with
               a lot of bullshit nonstop, deleting horrible comments and stuff. Snitch, rat, fat
               motherfucker, this and that. I have to deal with a lot of bullshit and now everybody's
               just trying to come in and take the little two minutes of fame and it just pisses me off.

Rebecca:       What have been the most annoying things about Joe's fans?

James:         Well, most of them just don't... one second. Hey, Cash. Hey, Cash. Cash. Hey. Cash.

Rebecca:       Is it not working? I think I have service.

James:         Do you? Can you help with... He's never been left.

Rebecca:       Maybe Courtney wants to come in and then we get [crosstalk 00:30:10]. I don't want to
               traumatize him. What's the number?

James:         Let me see what... Cash. Hey, I'm about to come get you. You all right? Are you good?
               I'm about to come get you.

Speaker 4:     Are you on your way.

James:         Yeah. Is he all right?

Speaker 4:     Oh, no. He's fine. He just misses dad and I didn't get to the car.

James:         Okay. Yeah. We're doing our last shot and I'm heading that way. I'll haul ass.

Speaker 4:     Okay, bye.

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Speaker 1:     Hey, Courtney.

Rebecca:       We're going to do this one shot and then we need to get out of her.

James:         Damn. Look at you. All right.

Courtney:      You sit right there, James.

James:         I'm good. It's kind of my environment. All we need is people in the background,
               throwing stacks of money.

Speaker 1:     We can do... we got money.

James:         The money gun.

Speaker 1:     That got stolen I think.

Rebecca:       You need music or are you okay? [crosstalk]

James:         You want to be a dig? Play that 50 Cent In Da Club. That's Carole Bask... remember?




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